          Case 1:16-vv-01284-UNJ Document 32 Filed 07/21/17 Page 1 of 7




    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                       Filed: June 23, 2017

* * * * * * * * * * * * * *
KRISTA M. GUT, as Administrator               *      No. 16-1284V
of the Estate of Jeremy D. Gut,               *
                                              *
               Petitioner,                    *      Special Master Sanders
                                              *
v.                                            *
                                              *      Joint Stipulation on Damages; Influenza
SECRETARY OF HEALTH                           *      (“Flu”) Vaccine; Guillain-Barré Syndrome
AND HUMAN SERVICES,                           *      (“GBS”); Death.
                                              *
          Respondent.                         *
* * * * * * * * * * * * * *

Simina Vourlis, Law Offices of Simina Vourlis, Columbus, OH, for Petitioner.
Douglas Ross, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION1

        On October 6, 2016, Krista M. Gut (“Petitioner”), on behalf of the Estate of Jeremy D.
Gut, petitioned for compensation pursuant to the National Vaccine Injury Compensation
Program.2 42 U.S.C. §§ 300aa-10 to -34 (2012). Petitioner alleged that, as a result of an
influenza (“flu”) vaccine administered on September 24, 2014, Mr. Gut developed Guillain-
Barré Syndrome (“GBS”) and subsequently died due to his alleged vaccine-related injury.
Stipulation, ECF No. 20.

       On June 19, 2017, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation to Petitioner. Id. Respondent denies that the flu vaccine

1
 This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such
material will be deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act,” “the Act,” or “the Program”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.
              Case 1:16-vv-01284-UNJ Document 32 Filed 07/21/17 Page 2 of 7



caused Mr. Gut to develop GBS or any other injury, and further denies that the vaccine caused
his death. Id. at 2. Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds the stipulation reasonable and adopts it as the decision of
the Court in awarding damages, on the terms set forth therein.

        The parties stipulate that Petitioner shall receive the following compensation:

                  A lump sum of $502,691.08 in the form of a check payable to petitioner as legal
                  representative of Jeremy D. Gut’s estate. This amount represents compensation for
                  all damages that would be available under 42 U.S.C. § 300aa-15(a).

Id. at ¶ 8.

      The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

        Following Petitioner’s unopposed Motion to Amend Judgment, the clerk of court is
directed to address Petitioner’s check to “Krista M. Gut, as Administrator of the Estate of Jeremy
D. Gut, deceased.”3

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation
and this decision.4

        IT IS SO ORDERED.

                                               s/Herbrina D. Sanders
                                               Herbrina D. Sanders
                                               Special Master




3
 The clerk of court shall terminate the deadline for Petitioner’s Unopposed Motion to Amend
Judgment, ECF No. 25.
4
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                  2
Case 1:16-vv-01284-UNJ Document 32 Filed 07/21/17 Page 3 of 7
Case 1:16-vv-01284-UNJ Document 32 Filed 07/21/17 Page 4 of 7
Case 1:16-vv-01284-UNJ Document 32 Filed 07/21/17 Page 5 of 7
Case 1:16-vv-01284-UNJ Document 32 Filed 07/21/17 Page 6 of 7
Case 1:16-vv-01284-UNJ Document 32 Filed 07/21/17 Page 7 of 7
